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                   323 FIFTH STREET                                                                                      (800) 603-0836
                   EUREKA CA 95501                                                                Para Español, Ext. 2660, 2643 o 2772
                                                                                                      8:00 a.m. - 5:00 p.m. Pacific Time
                                                                                                              Main Office NMLS #5985
                                                                                                            Branch Office NMLS #9785




               DEREK L FRAZIER
               C/O JOHN HORNBROOK
               1400 N MARKET AVE
               CANTON OH 44714


Analysis Date: February 02, 2022                                                                                                        Final
Property Address: 998 NORTH MAIN STREET KILLBUCK, OH 44637                                                               Loan:
                                     Annual Escrow Account Disclosure Statement
                                                  Account History

      This is a statement of actual activity in your escrow account from Apr 2021 to Mar 2022. Last year's anticipated activity
      (payments to and from your escrow account) is next to the actual activity.

Payment Information               Current:      Effective Apr 12, 2022:             Escrow Balance Calculation
 Principal & Interest Pmt:              777.63                  777.63              Due Date:                                 Feb 12, 2022
 Escrow Payment:                        221.67                  217.79              Escrow Balance:                              1,735.66
 Other Funds Payment:                      0.00                    0.00             Anticipated Pmts to Escrow:                    443.34
 Assistance Payment (-):                   0.00                    0.00             Anticipated Pmts from Escrow (-):              301.10
 Reserve Acct Payment:                     0.00                    0.00             Anticipated Escrow Balance:                   $1,877.90
  Total Payment:                         $999.30                 $995.42


                     Payments to Escrow        Payments From Escrow                                 Escrow Balance
       Date          Anticipated   Actual      Anticipated     Actual          Description          Required       Actual
                                                                            Starting Balance           374.14        132.02
      Apr 2021          221.67      591.83          63.23       62.44   *   Flood FPI                  532.58        661.41
      Apr 2021                                      63.23       62.44   *   Forced Place Insur         469.35        598.97
      May 2021          221.67      221.67          63.23       61.71   *   Flood FPI                  627.79        758.93
      May 2021                                      63.23       61.71   *   Forced Place Insur         564.56        697.22
      Jun 2021          221.67      221.67          63.23       61.53   *   Flood FPI                  723.00        857.36
      Jun 2021                                      63.23       61.53   *   Forced Place Insur         659.77        795.83
      Jun 2021                                                 556.91   *   County Tax                 659.77        238.92
      Jun 2021                                                  21.07   *   County Tax                 659.77        217.85
      Jul 2021          221.67                      20.59               *   County Tax                 860.85        217.85
      Jul 2021                                     543.97               *   County Tax                 316.88        217.85
      Jul 2021                      221.67          63.23       61.35   *   Flood FPI                  253.65        378.17
      Jul 2021                                      63.23       61.35   *   Forced Place Insur         190.42        316.82
      Aug 2021          221.67      221.67          63.23       61.17   *   Flood FPI                  348.86        477.32
      Aug 2021                                      63.23       61.17   *   Forced Place Insur         285.63        416.15
      Sep 2021          221.67      221.67          63.23       60.98   *   Flood FPI                  444.07        576.84
      Sep 2021                                      63.23       60.98   *   Forced Place Insur         380.84        515.86
      Oct 2021          221.67                      63.23       60.79   *   Flood FPI                  539.28        455.07
      Oct 2021                                      63.23       60.79   *   Forced Place Insur         476.05        394.28
      Oct 2021                      482.26                              *   Escrow Only Payment        476.05        876.54
      Nov 2021          221.67      221.67          63.23       60.79   *   Flood FPI                  634.49      1,037.42
      Nov 2021                                      63.23       60.79   *   Forced Place Insur         571.26        976.63

                                                                                                                              Page 1
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Nov 2021                          328.71                                  *   Escrow Only Payment            571.26        1,305.34
Dec 2021            221.67        443.34            63.23         60.60   *   Flood FPI                      729.70        1,688.08
Dec 2021                                            63.23         60.60   *   Forced Place Insur             666.47        1,627.48
Jan 2022            221.67                          63.23         60.22   *   Flood FPI                      824.91        1,567.26
Jan 2022                                            63.23         60.22   *   Forced Place Insur             761.68        1,507.04
Jan 2022                          657.42                                  *   Escrow Only Payment            761.68        2,164.46
Jan 2022                                                        568.78    *   County Tax                     761.68        1,595.68
Jan 2022                                                         21.47    *   County Tax                     761.68        1,574.21
Feb 2022            221.67                         556.91                 *   County Tax                     426.44        1,574.21
Feb 2022                                            21.07                 *   County Tax                     405.37        1,574.21
Feb 2022                          221.67            63.23                 *   Flood FPI                      342.14        1,795.88
Feb 2022                                            63.23         60.22   *   Forced Place Insur             278.91        1,735.66
Mar 2022            221.67                          63.23                 *   Flood FPI                      437.35        1,735.66
Mar 2022                                            63.23                 *   Forced Place Insur             374.12        1,735.66
                                                                              Anticipated Transactions       374.12        1,735.66
Jan 2022                                                         60.22        Flood FPI                                    1,675.44
Feb 2022                          221.67                         60.22        Forced Place Insur                           1,836.89
Feb 2022                                                         60.22        Flood FPI                                    1,776.67
Mar 2022                          221.67                         60.22        Forced Place Insur                           1,938.12
Mar 2022                                                         60.22        Flood FPI                                    1,877.90
                $2,660.04 $4,498.59           $2,660.06      $2,752.71

An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
our toll-free number.


Last year, we anticipated that payments from your account would be made during this period equaling 2,660.06. Under
Federal law, your lowest monthly balance should not have exceeded 443.34 or 1/6 of the anticipated payment from the
account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
silent on this issue. Your actual lowest monthly balance was greater than 190.42. The items with an asterisk on your
Account History may explain this. If you want a further explanation, please call our toll-free number.




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Analysis Date: February 02, 2022
Borrower: DEREK L FRAZIER                                                                                                           Loan
                                                Annual Escrow Account Disclosure Statement
                                                       Projections for Coming Year

      This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
      from your account.

        Date              Anticipated Payments                                                                  Escrow Balance
                          To Escrow From Escrow               Description                                 Anticipated      Required
                                                              Starting Balance                             1,877.90          383.29
      Apr 2022               217.79          60.22            Flood FPI                                    2,035.47          540.86
      Apr 2022                               60.22            Forced Place Insur                           1,975.25          480.64
      May 2022               217.79          60.22            Flood FPI                                    2,132.82          638.21
      May 2022                               60.22            Forced Place Insur                           2,072.60          577.99
      Jun 2022               217.79          60.22            Flood FPI                                    2,230.17          735.56
      Jun 2022                               60.22            Forced Place Insur                           2,169.95          675.34
      Jul 2022               217.79          21.07            County Tax                                   2,366.67          872.06
      Jul 2022                              556.91            County Tax                                   1,809.76          315.15
      Jul 2022                               60.22            Flood FPI                                    1,749.54          254.93
      Jul 2022                               60.22            Forced Place Insur                           1,689.32          194.71
      Aug 2022               217.79          60.22            Flood FPI                                    1,846.89          352.28
      Aug 2022                               60.22            Forced Place Insur                           1,786.67          292.06
      Sep 2022               217.79          60.22            Flood FPI                                    1,944.24          449.63
      Sep 2022                               60.22            Forced Place Insur                           1,884.02          389.41
      Oct 2022               217.79          60.22            Flood FPI                                    2,041.59          546.98
      Oct 2022                               60.22            Forced Place Insur                           1,981.37          486.76
      Nov 2022               217.79          60.22            Flood FPI                                    2,138.94          644.33
      Nov 2022                               60.22            Forced Place Insur                           2,078.72          584.11
      Dec 2022               217.79          60.22            Flood FPI                                    2,236.29          741.68
      Dec 2022                               60.22            Forced Place Insur                           2,176.07          681.46
      Jan 2023               217.79          60.22            Flood FPI                                    2,333.64          839.03
      Jan 2023                               60.22            Forced Place Insur                           2,273.42          778.81
      Feb 2023               217.79         568.78            County Tax                                   1,922.43          427.82
      Feb 2023                               21.47            County Tax                                   1,900.96          406.35
      Feb 2023                               60.22            Flood FPI                                    1,840.74          346.13
      Feb 2023                               60.22            Forced Place Insur                           1,780.52          285.91
      Mar 2023               217.79          60.22            Flood FPI                                    1,938.09          443.48
      Mar 2023                               60.22            Forced Place Insur                           1,877.87          383.26
                         $2,613.48       $2,613.51

     (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
      Your escrow balance contains a cushion of 194.71. A cushion is an additional amount of funds held in your escrow
      balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
      Federal law, your lowest monthly balance should not exceed 435.59 or 1/6 of the anticipated payment from the account,
      unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
      this issue.

      Your ending balance from the last month of the account history (escrow balance anticipated) is 1,877.90. Your starting
      balance (escrow balance required) according to this analysis should be $383.29. This means you have a surplus of 1,494.61.
      This surplus must be returned to you unless it is less than $50.00, in which case we have the additional option of keeping
      it and lowering your monthly payments accordingly. We are sending you a check for the surplus.

      We anticipate the total of your coming year bills to be 2,613.51. We divide that amount by the number of payments expected during
      the coming year to obtain your escrow payment.




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Analysis Date: February 02, 2022                                                                                                       Final
Borrower: DEREK L FRAZIER                                                                                                Loan:

      New Escrow Payment Calculation
      Unadjusted Escrow Payment                      217.79
      Surplus Amount:                                  0.00
      Shortage Amount:                                 0.00
      Rounding Adjustment Amount:                      0.00
      Escrow Payment:                               $217.79




     NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
     premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
     the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
     payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
     Street, Eureka, Ca 95501 or 800-603-0836.

  * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
  updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
  or return in the self-addressed envelope.




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                           UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF OHIO
                                   CANTON DIVISION

 In Re:                                           Case No. 18-60459-rk

 Derek Lane Frazier
                                                  Chapter 13
 Amy Ann Frazier

 Debtor(s).                                       Judge Russ Kendig

                                 CERTIFICATE OF SERVICE

I certify that on February 9, 2022, a true and correct copy of this Notice of Mortgage Payment
Change was served:

Via the Court’s ECF System on these entities and individuals who are listed on the Court’s
Electronic Mail Notice List:

          John H. Hornbrook, Debtors’ Counsel
          bankruptcy_attys@yahoo.com

          Dynele L. Schinker-Kuharich, Trustee
          dlsk@chapter13canton.com

          Office of the U.S. Trustee
          (registeredaddress)@usdoj.gov

And by regular U.S. Mail, postage pre-paid on:

          Derek Lane Frazier, Debtor
          Amy Ann Frazier, Debtor
          998 N Main Street
          Killbuck, OH 44637
                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor




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